         Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 1 of 29




                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

1. CHRISTOPHER L. STIEBENS and
2. MARY E. STIEBENS,
      Plaintiffs,
vs.                                    Case No. 5:16-cv-00629-F
1. RESILITE SPORTS PRODUCTS, INC.
2. and LEON M. STAUFFER,
      Defendants.


      DEFENDANTS’ OBJECTION TO PLAINTIFFS’ DAUBERT MOTION


                                         Gerald E. Durbin, II, OBA #2553
                                         David B. Donchin, OBA #10783
                                         Lane R. Neal, OBA #22246
                                         Durbin, Larimore & Bialick
                                         920 North Harvey
                                         Oklahoma City, OK 73102-2610
                                         Telephone: (405) 235-9584
                                         Facsimile: (405) 235-0551
                                         dlb@dlb.net
                                         Attorneys for Defendants

August 22, 2018
             Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 2 of 29




                                             TABLE OF CONTENTS

                                                                                                                           Page


INTRODUCTION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

ARGUMENTS AND AUTHORITIES. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

STANDARD OF REVIEW. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

                                                    PROPOSITION I

         DEFENDANTS’ EXPERTS ARE QUALIFIED. . . . . . . . . . . . . . . . . . . . . . . . . . . 4

A.       Dr. Lisa Gwin. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

B.       Dr. Cynthia Day. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14

C.       Enrique Bonugli. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16

                                                   PROPOSITION II

         DEFENDANTS’ EXPERTS’ OPINIONS ARE RELIABLE.. . . . . . . . . . . . . . . . 17

A.       Dr. Lisa Gwin. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18

B.       Dr. Cynthia Day. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22

C.       Enrique Bonugli. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23

CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24




                                                               i
           Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 3 of 29




                                     TABLE OF AUTHORITIES

                                                                                                            Page
Cases

        103 Investors I, L.P. v. Square D Co., 470 F.3d 985 (10th Cir. 2006). . . . . . . . . . 3

        Alexander v. Smith & Nephew, P.L.C., 98 F.Supp.2d 1310 (N.D. Okla. 2000).. 14

        Alfred v. Caterpillar, Inc., 262 F.3d 1083 (10th Cir. 2001).. . . . . . . . . . . . . . . . . 13

        Berry v. City of Detroit, 25 F.3d 1342 (6th Cir. 1994). . . . . . . . . . . . . . . . . . . . . . 4

        Biloxi Yacht Club, Inc. v. Grand Casinos of Mississippi, Inc.-Biloxi,
        2009 WL 10676951 (S.D. Miss. 2009). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

        Bitler v. A.O. Smith Corp., 400 F.3d 1227 (10th Cir. 2005). . . . . . . . . . . . . . . . . . 3

        Daubert v. Merrell Dow Pharms., Inc.,
        509 U.S. 579 (1993).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2, 3, 10, 16, 17, 19-21

        Dillon Companies, Inc. v. Hussmann Corp.,
        163 Fed.Appx. 749 (10th Cir. 2006). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8, 10, 11

        Emig v. Electrolux Home Products Inc.,
        2008 WL 4200988, *5 (S.D.N.Y. 2008). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10

        Goebel v. Denver & Rio Grande W. Ry., 346 F.3d 987 (10th Cir. 2003). . . . . . . . 3

        Graves v. Mazda Motor Corp., 675 F.Supp. 2d 1082 (W.D. Okla. 2009).. . . . . . . 4

        Hall v. Conoco, Inc., 886 F.3d 1308 (10th Cir. 2018). . . . . . . . . . . . . . . . . . . . . . . 2

        Hilaire v. DeWalt Indus. Tool Co., 54 F.Supp.3d 223(E.D.N.Y. 2014). . . . 5, 7, 11

        Humphrey v. Diamant Board, Inc., 556 F.Supp.2d 167 (E.D.N.Y. 2008).. . . . . . 12

        Jones v. Otis Elevator Co., 861 F.2d 655 (11th Cir. 1988). . . . . . . . . . . . . . . . . . 17

        Joudeh v. MS Carriers, Inc., 2011 WL 13228496, *3 (N.D. Tex. 2011).. . . . . . . . 9

                                                       ii
           Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 4 of 29




      Kannakeril v. Terminix Int'l Inc., 128 F.3d 802 (3d Cir. 1997).. . . . . . . . . . . . . . 21

      Keiffer v. Weston Land, Inc., 90 F.3d 1496 (10th Cir. 1996). . . . . . . . . . . . . . . . 17

      Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137 (1999). . . . . . . . . . . . 3, 17, 19

      Lara v. Delta International Machinery Corp.,
      174 F.Supp.3d 719 (E.D.N.Y. 2016). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

      Lippe v. Howard, 287 F.Supp.3d 1271 (W.D. Okla. 2018).. . . . . . . . . . . . . . . . . 3-5

      Lobell v. Grand Casinos of Mississippi, Inc.–Biloxi,
      2010 WL 4553563 (S.D. Miss. 2010). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

      McCoy v. Whirlpool Corp. (unpub.),
      2003 WIL 1923016 at *6 (D. Kan. Apr. 21, 2003). . . . . . . . . . . . . . . . . . . . . . . . 21

      O’Conner v. Commonwealth Edison Co., 807 F.Supp. 1376 (C.D. Ill. 1992). . . 13

      Ralston v. Smith & Nephew Richards, Inc., 275 F.3d 965 (10th Cir. 2001).. . 3, 14

      Riley v. Ford Motor Company, 2011 WL 13079483 (S.D. Miss. 2011). . . . . . . . 10

      Robinson v. Mo. Pac. R.R. Co., 16 F.3d 1083 (10 th Cir. 1994).. . . . . . . . . . . . . 17

      Smelser v. Norfolk S. Ry. Co., 105 F.3d 299 (6th Cir. 1997). . . . . . . . . . . . . . . . 13

      Sprint Communications Co., L.P. v. Vonage Holdings Corp.,
      500 F.Supp.2d 1290 (D. Kan. 2007). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

      Werth v. Makita Elec. Works, Ltd., 950 F.2d 643 (10th Cir. 1991). . . . . . . . . . . 21

Statutes

      59 O.S. § 10-475.1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

      Rule 702 of the Federal Rules of Evidence. . . . . . . . . . . . . . . . . . . . . . . . 2, 3, 9, 16




                                                         iii
           Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 5 of 29



         COME NOW the Defendants, Resilite Sports Products, Inc. and Leon M. Stauffer

(“Defendants”), and object to Plaintiffs’ Motion to Exclude Testimony of Dr. Lisa Gwin,

Enrique Bonugli and Dr. Cynthia Day [Doc. 39]. Plaintiffs’ Motion fails to establish that

these experts are unqualified or that their opinions are unreliable. The opinions of Dr. Gwin,

Dr. Day and Bonulgi are all based upon scientific methodologies and sufficient facts. As

such, the Court should deny Plaintiffs’ Motion. Defendants submit the following supporting

brief.

                                      INTRODUCTION

         This case arises out of an automobile accident on June 19, 2014. Leon Stauffer was

driving a Volvo tractor-trailer for Resilite Sports Products, traveling eastbound on I-44 near

mile marker 174 in Lincoln County, Oklahoma, where traffic slowed for a construction zone

causing a closure in the right lane. Stauffer’s tractor-trailer was in the inside lane and slowing

down for traffic conditions. A sedan driven by Chad Johnson pulled in front of Stauffer’s

tractor-trailer and abruptly applied the brakes. A Honda CRV driven by Plaintiff Mary

Stiebens with Plaintiff Christopher Stiebens in the front passenger seat was directly in front

of Johnson’s sedan and moved into the inside lane, as well. Stauffer attempted to slow his

tractor-trailer but was unable to stop and collided with the rear-bumper of Johnson’s Saturn,

which was pushed forward, causing an underriding impact with Plaintiffs’ Honda CRV.

         Oklahoma Highway Patrolman Charles Criddle and a Chandler EMS ambulance

responded to the scene. Mrs. Stiebens denied any injury to Trooper Criddle. Mr. Stiebens

refused treatment from Chandler EMS. Plaintiffs left the accident scene in their Honda CRV

and continued on to Tulsa. The next day, they drove from Tulsa to Lawton, their hometown,

without stopping at any hospital or urgent care clinic in Tulsa, Oklahoma City or Lawton.
          Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 6 of 29



       Upon returning to Lawton, Plaintiffs went to see a chiropractor. They returned to the

chiropractor for another visit on June 23, 2014. On June 26, 2014, Plaintiffs presented to the

Comanche County Emergency Room with soft-tissue complaints. Plaintiffs now claim

medical treatment from the initial chiropractor visit and the following three years, with costs

in the hundreds of thousands of dollars. Yet, Plaintiffs’ conduct and complaints (or lack

thereof) immediately following the accident, as well as the very minor damage to their

vehicle, wholly contradict a finding that their three years of hundreds of thousands of dollars

of medical treatment was caused by the low speed accident at issue in this case. Accordingly,

Defendants engaged Dr. Gwin, Dr. Day, and Bonugli of Biodynamic Research Corporation

("BRC") to assist in the investigation into the causation of Plaintiffs’ alleged injuries. These

experts have written reports and will testify at trial that the subject accident did not cause

Plaintiffs’ claimed injuries.

       As a preliminary matter, Plaintiffs begin their Motion by citing a chart they created

that summarizes cases where courts have excluded or limited BRC experts under Daubert.

This "summary" does not identify the experts excluded, it does not provide case numbers, it

does not provide case facts and it does not give any details as to the basis for exclusion or

limitation. Additionally, Plaintiffs inaccurately claim that these BRC experts were excluded

based upon "their blatant and obvious bias." See Plaintiffs' Motion, p. 2. As this Court is no

doubt well-aware, "blatant and obvious bias" is not a factor or consideration for exclusion

of expert testimony under Rule 702, Daubert or Kumho. The proper forum for such an

argument is during cross-examination of an expert witness at trial, not in a Daubert Motion.

                                ARGUMENTS AND AUTHORITIES

                                 STANDARD OF REVIEW

       Federal District Courts have “wide latitude” to determine whether or not to exclude

an expert witness’s opinion testimony. Hall v. Conoco, Inc., 886 F.3d 1308, 1311 (10th Cir.

                                               2
          Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 7 of 29



2018); Bitler v. A.O. Smith Corp., 400 F.3d 1227, 1232 (10th Cir. 2005); Goebel v. Denver

& Rio Grande W. Ry., 346 F.3d 987, 990 (10th Cir. 2003). The Federal Appellate Courts

review such a determination, which constitutes an exercise of the District Court’s

gatekeeping function, for an abuse of discretion. Id. The Appellate Court will not disturb the

District Court’s ruling absent a showing of a clear error of judgment. Id.

       Rule 702 of the Federal Rules of Evidence provides the standard and requirements for

admission of expert opinion testimony, as follows:

       A witness who is qualified as an expert by knowledge, skill, experience,
       training, or education may testify in the form of an opinion or otherwise if:

       (a) the expert’s scientific, technical, or otherwise specialized knowledge will
       help the trier of fact to understand the evidence or to determine a fact in issue;
       (b) the testimony is based on sufficient facts or data;
       (c) the testimony is the product of reliable principles and methods; and
       (d) the expert has reliably applied the principles and methods to the facts of the
       case.

       A Daubert challenge in the 10th Circuit requires a two-step analysis. The first step is

to determine “whether the expert is qualified by knowledge, skill, experience, training or

education to render the opinion.” Lippe v. Howard, 287 F.Supp.3d 1271, 1277 (W.D. Okla.

2018). If the expert is qualified, “the Court must then determine whether the expert’s opinion

is reliable under the principles set forth in Daubert v. Merrell Dow Pharms., Inc., 509 U.S.

579 (1993) and Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137 (1999) and relevant, in

that it will assist the trier of fact.” Id.; see also 103 Investors I, L.P. v. Square D Co., 470

F.3d 985, 990 (10th Cir. 2006); Ralston v. Smith & Nephew Richards, Inc., 275 F.3d 965,

969 (10th Cir. 2001).

       As set forth below, Dr. Gwin, Dr. Day and Bonugli are each highly qualified in their

respective areas by the totality of their knowledge, skill, experience, training and education.

Likewise, their opinions are reliable under the principles set forth in Daubert and Kumho


                                               3
          Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 8 of 29



Tire, and they will assist the trier of fact. As such, the expert testimony is admissible and the

Court should deny Plaintiff’s Motion.

                                      PROPOSITION I

                    DEFENDANTS’ EXPERTS ARE QUALIFIED.

       Plaintiffs purport that Dr. Gwin, Dr. Day and Bonugli are not qualified. As to

Dr. Gwin, Plaintiffs argue that she is not qualified to opine as to causation of Plaintiffs’

physical injuries from the subject accident because (1) she does not hold a degree or license

in mechanical or biomechanical engineering, and (2) she does not specialize in spinal injuries

as a medical doctor. Plaintiffs argue that Dr. Day is not qualified to interpret Plaintiffs’

imaging reports because she does not sub-specialize in neuroradiology. Lastly, Plaintiffs

argue that Bonugli is not qualified to render accident reconstruction opinions because he is

not a licensed professional engineer.

       In determining whether these experts are qualified, the issue is “‘not the qualifications

of a witness in the abstract, but whether those qualifications provide a foundation for a

witness to answer a specific question.’” Graves v. Mazda Motor Corp., 675 F.Supp. 2d 1082,

1092-1093 (W.D. Okla. 2009) (quoting Berry v. City of Detroit, 25 F.3d 1342 1351 (6th Cir.

1994). In the Lippe case, this Western District Court recently reiterated that an expert witness

must be qualified in two ways: (1) generally with knowledge, skill, experience, training or

education, and (2) specifically in regards to the substance of the opinion offered. The Court

explained as follows:

       Simply put, “[t]he real question is, what is he an expert about?” In re
       Williams Sec. Litigation, 496 F.Supp.2d 1195, 1232 (N.D. Okla. 2007)
       (quoting Wheeling Pittsburgh Steel Corp. v. Beelman River Terminals, Inc.,
       254 F.3d 706, 715 (8th Cir. 2001) ). Under controlling case law, including
       Ralston, the qualifications of a proposed expert must be assessed only after the
       specific matters he proposes to address have been identified. Graves, 675
       F.Supp.2d at 1093; In re Williams Sec. Litigation, 496 F.Supp.2d at 1232.
       “[T]he expert's qualifications must be both (I) adequate in a general,

                                               4
            Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 9 of 29



       qualitative sense (i.e., ‘knowledge, skill, experience, training or education’
       as required by Rule 702) and (ii) specific to the matters he proposes to
       address as an expert.” Id.

Lippe, at 1279. (emphasis added).

       Further, “the totality of an expert’s qualifications should be considered in evaluating

whether or not his or her testimony is admissible.” Hilaire v. DeWalt Indus. Tool Co., 54

F.Supp.3d 223, 236 (E.D.N.Y. 2014). Looking at the totality of each expert’s qualifications,

Dr. Gwin, Dr. Day and Bonugli are each generally qualified by their knowledge, skill

experience, training and education, as well as specifically qualified in the areas involved in

determining medical and injury causation in this particular automobile accident case.

       A.      Dr. Lisa Gwin

       Dr. Gwin is a medical and biomechanical expert who will testify regarding her review

of the evidence concerning the accident, Plaintiff’s medical conditions and records,

observations, opinions and conclusions concerning the injury mechanisms and injury

causation at issue in the subject accident. [Doc. 31]. Dr. Gwin’s opinion is that the subject

accident did not cause Plaintiffs’ claimed physical injuries. [Doc. 39-2]. Breaking her

medical and biomechanical opinions down into smaller parts, Dr. Gwin opines the following:

       (1) the subject impact was not significant enough to be expected to cause any
       injury;

       (2) Plaintiffs’ recall of the accident and presented symptoms near the time of
       the accident are inconsistent with traumatic brain injury;

       (3) Mr. Stiebens’ neck, back and extremity pain, including extremity tingling,
       all predate the accident and therefore were not caused by the accident;

       (4) Mr. Stiebens’ pars defects and spondylolisthesis predated the accident and
       therefore were not caused by the accident; and,

       (5) both Plaintiffs’ imaging studies demonstrate degenerative changes in their
       spines overtime that were not caused by any one event.

[Doc. 39-2].

                                              5
         Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 10 of 29



       The Court must first determine whether Dr. Gwin is generally qualified to give

medical and biomechanical opinions by her knowledge, skill, experience, training or

education; then, must determine whether she is specifically qualified to opine on the issues

involved in determining injury causation in this case, namely analysis of vehicle dynamics,

occupant kinematics, biomechanics, determination of injury potential and medical

record/imaging review and analysis.

       Dr. Gwin’s educational background encompasses medicine and engineering. She

received a Bachelor of Science in Electrical Engineering from the Illinois Institute of

Technology in 1987, wherein she studied the fundamental sciences implicit in an engineering

degree, including physics, chemistry, mathematics, metallurgy, statics, dynamics and

thermodynamics. [Doc. 39-2; Doc. 39-3]. See also Affidavit of Dr. Lisa Gwin, Exhibit 1. She

received a Bachelor of Science in Nursing from Wayne State University in 1995, as well as

a Doctor of Osteopathic Medicine from Arizona College of Osteopathic Medicine in 2003.

Id. She completed her Residency in Emergency Medicine in 2006 at the University of

Kentucky, where she cared for patients in the emergency department and completed rotations

in trauma, surgical intensive care, internal medicine, obstetrics, orthopedic surgery, air

medical transport and EMRS. Id.

       Dr. Gwin’s professional experience encompasses medicine, automotive engineering

and biomechanical consulting. She is Board Certified in Emergency Medicine and has

worked as a nurse and physician in emergency departments in Texas, Montana, Arizona and

Wyoming for over 20 years. [Doc. 39-2; Doc. 39-3; Ex. 1]. Dr. Gwin also has extensive

professional experience in automotive engineering and biomechanical engineering. Prior to

going to medical school, she worked as a test engineer and fuel systems development

engineer at Ford Motor Company for six years, working with cars, light trucks and heavy


                                             6
         Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 11 of 29



trucks. Id. After joining BRC in 2012, Dr. Gwin completed a six-month in-house training

program with respect to biomechanical engineering and injury causation analysis, which is

the method she employed in this case. Id. To date, she has reviewed over 100 cases as a

consultant, in which injuries were claimed and in which she applied biomechanical analysis

and the injury causation method. Id. She is accredited with the Accreditation Commission

for Traffic Accident Reconstruction. Id. Dr. Gwin clearly possesses the knowledge, skill,

experience, training and education of a medical and biomechanical expert.

       Dr. Gwin’s expertise is specifically tailored to the precise issues involved in

determining injury causation in this case, where Plaintiffs claim they suffered acute injuries

to their necks and backs as a result of a low speed accident. As a board certified emergency

physician, Dr. Gwin is specifically trained in triage, assessment, diagnosis and treatment of

acutely injured patients. [Ex. 1]. Distinguishing between acute injuries and chronic

conditions, as well as understanding the mechanisms of injuries, are essential aspects of

optimum emergency care. Id. Dr. Gwin is specifically qualified to make assessments in the

disciplines of injury potential and medical analysis, which are integral to biomechanical and

injury causation analysis. Id. Likewise, Dr. Gwin is trained and experienced in automotive

engineering, testing and biomechanics, which gives her the requisite knowledge to consider

and evaluate the impact this accident had on Plaintiffs’ bodies by using the injury causation

analysis method. Dr. Gwin’s combination of training and experience in emergency

departments, biomechanical consulting and automotive engineering makes her uniquely

qualified for the issues in this case–analysis of vehicle dynamics, occupant kinematics,

biomechanics, determination of injury potential and medical record/imaging review

and analysis. Dr. Gwin’s knowledge of these relevant subjects will assist the jury. See

Hilaire, at 235 (“In considering a witness’ practical experiences and education background


                                              7
          Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 12 of 29



as criteria for qualification, the threshold question is whether the expert’s knowledge of the

subject is such that his opinion will likely assist the trier of fact in arriving at the truth.”).

       Plaintiffs argue that Dr. Gwin is not qualified from a biomechanical perspective

because she does not have an Oklahoma professional engineering license under 59 O.S.

§ 10-475.1, and because she has an electrical engineering degree, not mechanical or

biomechanical. An Oklahoma professional license in any field of engineering is not required

for Dr. Gwin to give expert opinion testimony in this case and the state licensing statute

certainly does not operate to determine admissibility of evidence in Federal District Court.

The Oklahoma state statute Plaintiffs cite regarding licensing states that a person holding

herself out as a Professional Engineer, and rendering a Professional Engineering Report,

whether it is related to expert opinion testimony or for some other purpose, must have a

license. This statute has no bearing on admissibility of expert witness testimony, particularly

where, as here, the expert does not hold herself out to be a licensed Professional Engineer

and her report is not a Professional Engineering Report with a licensing stamp at the end.

Rather, Dr. Gwin is a medical and biomechanical expert with expertise and knowledge as to

engineering concepts that are relevant and helpful to determining causation in this case.

       The 10th Circuit and other Federal District Courts have consistently rejected this

argument that lack of an engineering license renders an expert unqualified. In Dillon

Companies, Inc. v. Hussmann Corp., 163 Fed.Appx. 749 (10th Cir. 2006), the plaintiff

argued on appeal the defendant’s engineering expert was not qualified because he did not

have a Colorado engineering license under the state’s licensing statute. The Court rejected

this argument, noting the plaintiff failed to provide the Court with any authority “concluding

that an expert with an engineering background was not qualified to testify because he was

not licensed in the state where the trial occurred.” Id. at 756.


                                                8
          Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 13 of 29



       In Biloxi Yacht Club, Inc. v. Grand Casinos of Mississippi, Inc.-Biloxi, 2009 WL

10676951 (S.D. Miss. 2009), the defendant moved to exclude the plaintiff’s engineering

expert on the basis that he was not a licensed Mississippi engineer, relying upon

Mississippi’s version of the Oklahoma statute cited in Plaintiff’s brief here. Id. at *1. The

statute required a Mississippi engineering license in order to practice engineering and, like

the Oklahoma statute, defined the “practice of engineering” to include giving expert

testimony. The Court found that the expert was qualified under Rule 702, as the state

licensing statute was not the proper standard for determining admissibility of expert

testimony, and the issue of licensing went to the weight and credibility of the expert’s

testimony, to be determined by the jury at trial. The Court stated the following in that

regard:

       In the opinion of the Court, the inquiry regarding the statutory
       requirements for the practice of engineering, or what professional conduct
       may be proscribed by state law is different from this Court's inquiry
       regarding whether a witness is qualified to testify as an expert. Assuming
       that Mr. Comer's anticipated expert testimony constitutes the unlicensed
       “practice of engineering” as that term is defined by Mississippi Code
       Annotated § 73–13–3, then that is between Mr. Comer and the Mississippi
       Board of Engineering. This Court need not, and will not wade into any
       quiescent challenge of the breadth of Mississippi law regulating the practice
       of engineering. Instead, the focus here is on of the admissibility of expert
       testimony in federal court; which is governed by federal law. Edwards v.
       Sears, Roebuck & Co., 512 F.2d 276, 292 (5th Cir. 1975) (declining to apply
       Mississippi law on expert qualifications). Consequently, rule 702 of the
       Federal rules of Evidence is the appropriate standard for determining
       whether a witness is permitted provide to expert testimony at trial. It will
       ultimately be up to a jury to determine whether, and to what extent, the
       absence of a Mississippi engineering licence affects the weight or credibility
       of the testimony.

Id; see also Joudeh v. MS Carriers, Inc., 2011 WL 13228496, *3 (N.D. Tex. 2011) (“The

inquiry regarding... what professional conduct may be proscribed by state law is different

than the inquiry regarding whether a witness is qualified to testify as an expert.”); Lobell v.

Grand Casinos of Mississippi, Inc.–Biloxi, 2010 WL 4553563 (S.D. Miss. 2010) (“the issue

                                              9
         Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 14 of 29



of whether Comer has complied with Mississippi’s licensing requirements goes to the weight

and credibility of his testimony, not its admissibility.”); Riley v. Ford Motor Company, 2011

WL 13079483 (S.D. Miss. 2011) (“assuming that state regulations concerning licensure of

engineers are determinative as to the competency of expert testimony, Mississippi’s licensure

or certification requirement is inapplicable here, as it unreasonably burdens the Court’s

administration of its own rules regarding the admissibility of expert testimony.”); Emig v.

Electrolux Home Products Inc., 2008 WL 4200988, *5 (S.D.N.Y. 2008) (“it is well-settled

that, to be an expert, a person need not hold a particular degree or license...it is not

uncommon for a person to qualify as an expert based on his or her experience alone.”).

       Moreover, Dr. Gwin does not have to have a degree specific to mechanical or

biomechanical engineering to qualify as biomechanical expert for purposes of this case, as

her general engineering knowledge resulting from her electrical engineering degree and

professional experience qualifies her. The fact that her degree is in electrical engineering,

rather than mechanical or biomechanical engineering, goes to the weight and credibility of

her opinions, not admissibility. Indeed, the 10th Circuit and other Federal District Courts have

consistently held that an engineering expert does not have to have a degree in a specific

discipline to qualify under Daubert, where the totality of her experience, education and

training provides the requisite knowledge.

       In Dillon, supra, the 10th Circuit explained this principle. The plaintiff in Dillon

argued the defendant’s expert witness on the issue of large accidents and fires could not

testify regarding the cause of the fire that caused the injuries claimed in the case, because he

did not have a degree or educational background in structural engineering, architecture, fire

protection engineering or fire investigation. Instead, the expert had a civil engineering

degree. The Court found the expert was qualified due to the totality of his education, training


                                              10
         Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 15 of 29



and experience in engineering and fire investigation, despite the lack of a degree or license

specifically relating to structural engineering, architecture or fire investigation. The Court

stated the following in this regard:

       King Soopers complains that Craddock is not qualified because his educational
       background is in civil engineering, and he is not an architect, structural
       engineer, fire protection engineer, or certified fire investigator. A person may
       be qualified “as an expert by knowledge, skill, experience, training, or
       education.” Fed.R.Evid. R. 702; Graham v. Wyeth Labs., 906 F.2d 1399, 1408
       (10th Cir.1990) (stating that an expert is qualified when he possesses “such
       skill, experience or knowledge in that particular field as to make it appear that
       his opinion would rest on substantial foundation and would tend to aid the trier
       of fact in his search for the truth”) (internal quotation marks omitted). King
       Soopers cites no authority for its argument that only architects, structural
       engineers, fire protection engineers, or certified fire investigators can provide
       expert testimony regarding the origin of a fire. Our ruling in Bitler v. A.O.
       Smith Corp., 400 F.3d 1227 (10th Cir.2004), which affirmed the admissibility
       of expert testimony from a fire investigator, a chemical engineer, and an
       accident investigator, is support for the district court's ruling in the present
       case. See id. at 1235.

       Further, Craddock was qualified as an expert under Rule 702. Craddock is a
       consulting engineer for Engineering Systems, Inc., which investigates
       accidents and fires. Craddock described his speciality as “the evaluation of
       very large fires.” Aplee. App. at 121. For three years, Craddock investigated
       a fire at the MGM casino that spread rapidly from a restaurant where the
       sprinklers had been removed. In this case, Craddock's primary role was to
       determine why “this particular fire had got out of hand and spread so rapidly
       and ended up basically destroying this particular structure.” Id. at 128.
       Craddock has an undergraduate degree in civil engineering, and he has taken
       additional courses in construction materials. Craddock has performed tests on
       construction materials, including fire testing involving different types of
       insulation, and evaluating the sufficiency of sprinkler and fire alarm systems.
       Craddock has experience in designing and evaluating sprinkler systems and
       interpreting building codes. He has testified as an expert in Colorado state and
       federal courts. King Soopers has not established that the admission of
       Craddock's expert testimony constituted plain error.

Id. at 756; see also Lara v. Delta International Machinery Corp., 174 F.Supp.3d 719, 732

(E.D.N.Y. 2016) (finding that expert was qualified where he had education “in the field of

engineering in general”); Hilaire v. DeWalt Indus. Tool Co., 54 F.Supp.3d 223, 239-40

(E.D.N.Y. 2014) (finding that an expert did not have to have a degree or educational


                                              11
          Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 16 of 29



background in a specific discipline of engineering to testify to design and manufacture issues

involving mechanical engineering); Humphrey v. Diamant Board, Inc., 556 F.Supp.2d 167,

176 (E.D.N.Y. 2008) (expert’s “generalized engineering education” combined with

professional experience qualified him to testify about a specific product he had no prior

experience with); Sprint Communications Co., L.P. v. Vonage Holdings Corp., 500

F.Supp.2d 1290, 1343-45 (D. Kan. 2007) (holding that a patent infringement expert in a

telecommunications technology case was qualified even though he had no degree in electrical

engineering, computer engineering or computer science).

       Plaintiffs’ focus on the specific discipline of Dr. Gwin’s engineering degree ignores

her full list of qualifications. She is a degreed engineer who is qualified to testify to

biomechanical concepts because of the totality of her education, training and professional

experience, including her electrical engineering degree and education, her years of

experience in automotive engineering and safety testing at Ford and her training and

experience as a biomechanical engineer employing the injury causation analysis method at

BRC. Plaintiffs entirely ignore the totality of Dr. Gwin’s education, training and professional

experience in automotive engineering and biomechanical engineering, as well as her years

of experience using the injury causation analysis method. The fact that her engineering

degree is not specific to biomechanical or mechanical engineering goes to the weight and

credibility of her opinion, not its admissibility.

       Finally, Plaintiffs’ argument that Dr. Gwin is not qualified in a medical sense because

she does not specialize in spinal injuries is inaccurate. As explained previously, Dr. Gwin is

a trained and experienced emergency physician and nurse. Her knowledge and skills gained

through that education, training and experience make her perfectly qualified to testify about

Plaintiffs’ injuries, review their medical records, symptoms, reports, diagnoses and to


                                               12
         Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 17 of 29



determine the cause of their injuries, regardless of the area of the body. An emergency room

physician specializes in evaluating patient complaints, symptoms and reports and determining

and identifying an injury following an accident. She does not have to be an expert in

orthopedics or spinal injuries to do this, nor is she exceeding the bounds of her medical

expertise to do so. Dr. Gwin is more than qualified to opine as to whether Plaintiffs’ injuries

were acute in nature. While an orthopedist would certainly be required to treat Plaintiffs’

spinal injuries, an emergency room physician can certainly determine whether or not an acute

injury exists following an accident. Without a doubt, Dr. Gwin possesses special knowledge

as to the very matter on which she proposes to give an opinion–the evaluation of existence

of an injury caused by an accident versus degenerative changes over time.

       The cases Plaintiffs cite in support of their medical qualification argument are

factually distinguishable from the circumstances in this case. In O’Conner v. Commonwealth

Edison Co., 807 F.Supp. 1376 (C.D. Ill. 1992), the plaintiff claimed he sustained bilateral

cataracts caused by radiation exposure at a nuclear power plant where he worked. He retained

a general ophthalmologist who specialized in fitting contact lenses to testify that only

radiation exposure could have caused his cataracts. The doctor had no experience whatsoever

with radiation induced cataracts and had never studied or performed any research on anything

relating to radiation exposure. The Court found he was therefore not qualified to testify that

radiation exposure caused plaintiff’s cataracts. In Smelser v. Norfolk S. Ry. Co., 105 F.3d

299 (6th Cir. 1997), the qualifications of the biomechanical expert were not even at issue and

his opinion was excluded based upon his methodology. In Alfred v. Caterpillar, Inc., 262

F.3d 1083 (10th Cir. 2001), the issue was whether a mechanical engineer, who admitted he

was not an expert in “human factors,” could testify to the same. These cases are all




                                              13
            Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 18 of 29



inapplicable to the instant case, and the issue of an emergency physician evaluating whether

acute injuries existed following a low speed automobile accident.

       Several of the cases Plaintiffs cite involve complex medical devices and expert

witnesses who were physicians but had no experience with the specific medical device at

issue, which has no bearing on this case. In Alexander v. Smith & Nephew, P.L.C., 98

F.Supp.2d 1310, 1315 (N.D. Okla. 2000), the issue was whether a family practice doctor was

qualified to testify that a specific medical device was mechanically sound and did not

contribute to the plaintiff’s attainment of solid fusion and excessive scarring, fibrosis, and

formation of hypertrophic bony overgrowth, nerve root damage, chronic pain and spinal

disorders caused by the device. In Ralston v. Smith & Nephew, 275 F.3d 965 (10 th Cir.

2001), the 10th Circuit found that an orthopedic surgeon was not qualified to testify about

product warnings on a medical device specifically dealing with the concept of intramedullary

nailing, which the expert admitted she had no experience with.

       B.      Dr. Cynthia Day

       Dr. Day is a radiology expert who will testify regarding her review of Plaintiffs’

medical imaging and related opinions in her report. [Doc. 31]. Dr. Day opines that, after

reviewing Plaintiffs’ imaging reports following the accident, there is no evidence of acute

traumatic injury in Mr. Stiebens’ cervical spine, thoracic spine and lumbar spine; rather,

Dr. Day opines the imaging shows multilevel degenerative changes in all three areas.

[Doc. 39-7].

       Plaintiffs claim that Dr. Day, who is a Board Certified Radiologist, is not qualified to

interpret Plaintiffs’ imaging reports for their backs and necks following the accident, solely

because she does not sub-specialize as a neuroradiologist. Without citing to any supporting

legal authority whatsoever, Plaintiffs summarily conclude that a radiologist is not qualified


                                             14
          Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 19 of 29



to interpret imaging of a person’s back and neck. Defendant is unaware of, and Plaintiffs do

not cite, any legal or scientific authority stating the interpretation of back and neck imaging

requires a sub-specialist, which goes even further than a specialist. No sub-specialty is

required to interpret imaging of the spine, back or neck and it is certainly not required for

Dr. Day to fully evaluate this case. [Exhibit 2, Affidavit of Dr. Cynthia Day].

        Dr. Day is Board Certified with the American Board of Radiology. [Doc. 39-5; Ex.

2]. She received her Doctor of Medicine from The University of Texas Health Science Center

in 2002. Id. She completed her Residency in Diagnostic Radiology at the University of Texas

Health Science Center and acted as Chief Resident. Id. She completed a Fellowship in

Emergency Radiology, as well as mini-fellowships in neuroradiology and musculoskeletal

radiology at Harvard University. Id. She also received a certificate of completion in

Neuroradiology from the American College of Radiology in 2016, which requires accurate

and confirmed evaluation of 100 cases. Id. She has worked as a Staff Radiologist, a Clinical

Assistant Professor of Radiology and served as an Instructor at Harvard Medical School. Id.

Dr. Day explains in her Affidavit that she routinely reads imaging studies of the spine in her

clinical practice. Id. She has published articles and given presentations on the topics of

radiology in acute and chronic neck pain cases, using imaging in determining injury

causation, motor vehicle and accident reconstruction and radiological analysis in product

liability litigation. Id.

        Defendants’ allegation that Dr. Day is not qualified, as a Board Certified Radiologist,

to interpret back and neck imaging to identify acute injury is wholly unsupported by legal or

scientific authority. Any argument that Dr. Day is not a sub-specialist in neuroradiology goes

to the weight and credibility of her opinion, rather than its admissibility. Dr. Day is clearly

generally qualified as a radiology expert by her education, experience and training. She is


                                              15
         Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 20 of 29



likewise specifically qualified to interpret Mr. Stiebens' imaging studies in this case,

specifically to look for evidence of acute injury. Plaintiffs claim that Mr. Stiebens' imaging

is too "advanced" for Dr. Day's qualifications is not supported by any evidence. On the

contrary, Dr. Day reviewed x-rays and MRIs, which fall completely within her field of

practice as a radiologist.

       C.     Enrique Bonugli

       Bonugli is an accident reconstruction and biomechanical expert who will testify

regarding his review of the evidence concerning the accident; his investigation into the

accident; his accident reconstruction, including the relevant speeds and forces described in

his report; and his conclusions relating to the same. [Doc. 31]. Bonugli is highly qualified to

render these opinions. He received his Bachelor of Science in Industrial Engineering from

Marquette University in 2003, as well as his Master of Science in Biomechanical

Engineering from the University of Texas Health Science Center in 2015. [Doc. 39-8]. Since

2003, Bonugli has gained extensive professional experience in biomechanical engineering

as an Intern, Test Engineer, Senior Test Engineer, and now Technical Director at BRC. Id.

He has been an Accredited Traffic Accident Reconstructionist since 2009.

       Plaintiffs argue that Bonugli is not qualified to testify about anything relating to

engineering, including his biomechanical opinions, accident reconstruction and investigation

in this case, solely because he is not a licensed professional engineer. As set forth previously

in the section relating to Dr. Gwin's qualifications, a professional license is not required for

an engineering expert to qualify under Rule 702 and Daubert. Like Dr.Gwin, Bonugli does

not hold himself out as a licenses Professional Engineer in this case and he states in his

Affidavit that he is not rendering his opinions for the purpose of construction, design or

analysis of a structure for occupancy, nor is he providing expert witness testimony


                                              16
          Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 21 of 29



concerning those activities. [Exhibit 3, Affidavit of Enrique Bonugli]. Looking at Bonugli’s

education, training and experience, he is clearly qualified as an accident reconstruction and

biomechanical expert.

                                    PROPOSITION II

                DEFENDANTS’ EXPERTS’ OPINIONS ARE RELIABLE.

       After determining that Dr. Gwin, Dr. Day and Bonugli are qualified experts by their

skill, experience, education, training and knowledge, the Court must assess whether their

opinions meet the reliability standards set forth in Daubert and Kumho. The Daubert Court

outlined certain non-dispositive factors relevant to the issue of reliability: (1) whether a

theory or technique has been or can be tested; (2) whether the theory or technique has been

subject to peer review and publication; (3) whether there are known or potential rates of error

associated with the theory or technique; and (4) whether the theory or technique has general

acceptance. Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 593-94 (1993).

Importantly, however, the test of reliability is flexible, and these factors therefore do not

necessarily or exclusively apply to all experts or every case. Kumho Tire Co. v. Carmichael,

526 U.S. 137, 141 (1999). As for the factual basis, the law requires only that the expert’s

opinion have some basis in fact, “as opposed to conjecture or speculation [but] absolute

certainty is not required.” Keiffer v. Weston Land, Inc., 90 F.3d 1496, 1499 (10th Cir. 1996)

(citing Jones v. Otis Elevator Co., 861 F.2d 655 (11th Cir. 1988); Robinson v. Mo. Pac. R.R.

Co., 16 F.3d 1083 (10 th Cir. 1994)). Here, the methodologies employed by Dr. Gwin,

Dr. Day and Bonugli in formulating their opinions all meet the reliability factors set forth in

Daubert and Kumho; moreover, the opinions are based upon sufficient facts and evidence

in this case.




                                              17
         Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 22 of 29



       A.       Dr. Lisa Gwin

       In her report, Dr. Gwin explains in detail the facts, data, principles and methods used

to form the basis of her opinions. First, Dr. Gwin reviewed numerous documents and

evidence in the case. She reviewed the following: (1) the Oklahoma Traffic Collision Report;

(2) Repair Estimate for 1997 Saturn SL1; (3) Repair estimate for 2011 Honda CRV;

(4) Pleadings and Discovery Responses; (5) Depositions of Chad Johnson, Mary Stiebens and

Christopher Stiebens; (6) Color photographs of the 2011 Honda CRV, the Accident Scene,

Facebook and Instagram photos posted by Mr. Stiebens and the 1997 Saturn SL1;

(7) Medical Records for Mr. Stiebens relating to the accident from approximately 15

different providers; and, Medical Records for Mrs. Stiebens relating to the accident from

approximately eight different providers. [Doc. 39-2]. The medical records reviewed include

records from first responders, emergency department, pain management, imaging and

chiropractic.

       Dr. Gwin also performed an Exemplar Surrogate Demonstration at BRC on July 6 and

9, 2018, using a closely matched exemplar vehicle and human surrogates matched to

Plaintiffs for standing stature and weight. Both surrogates position the seat and seatbelt to

reflect usual safe riding practices and positioned their arms on the arm rests. [Doc. 39-2]. An

impact was simulated using the impact analysis results from Bonugli’s testing. The result of

the impact was that both surrogates were in an upright posture with the driver surrogate’s

head less than three inches from the head restraint and the passenger surrogate’s head in

contact with the head restraint. Id.

       Dr. Gwin states in her report that this exemplar demonstration, along with the

reviewed materials, Bonugli’s impact and accident reconstruction analysis, Dr. Day’s

radiology review, current literature (cited in her report) and the laws of physics, provided her


                                              18
          Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 23 of 29



the information she needed to perform injury causation analysis and conclude to a reasonable

degree of medical and scientific certainty that “net spinal motion was within physiological

limits.” [Doc. 39-2, p. 7]. Dr. Gwin was also able to conclude that “the subject acceleration

of .5-2.4 g was in the realm of everyday activities (e.g., dancing riding an elevator) and

would not be expected to cause injury.” Id. Dr. Gwin provides figures in her report with

scientific data demonstrating head, thoracic and lumbar accelerations in everyday activities,

to compare to the acceleration data for the subject accident. [Doc. 39-2, p. 8-9]. Dr. Gwin

spends eight pages in her report going through her methods, research, review, findings and

conclusions in scientific and medical detail and a 10-page bibliography of scientific literature

she relies upon and cites is attached to the report.

       In her Affidavit, Dr. Gwin further provides an in-depth detailed explanation of the

injury causation analysis method she used in determining Plaintiffs’ injury causation and

arriving at her opinions, as well as how she applied it to the facts of this case. [Ex. 1, pp. 4-

7]. The injury causation analysis method is not new or novel, nor did BRC create it. Id. It is

the scientific method used to analyze the specific mechanism of injury for individuals who

experience incidents in workplaces, transportation and other settings. Id. It involves

comparing the mechanical forces involved in the incident with the body’s injury tolerance.

Id. It is a product of the Scientific Method, is subjected to peer review publication and is

accepted by entities such as the Department of Defense, the Federal Aviation Administration,

the National Transportation Safety Board and the National Highway Traffic Safety

Administration. Id. Any minimal rates of error are addressed by Dr. Gwin in her Affidavit.

Id. As such, the injury causation analysis method meets the four reliability standards set forth

in Daubert and Kumho. Notably, Plaintiffs cite no legal or scientific authority stating that the




                                               19
          Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 24 of 29



injury causation analysis method does not satisfy these four factors or that it is unreliable

under Daubert.

       The standard here is sufficiency and Dr. Gwin clearly shows that her opinion is based

upon sufficient facts and data, as well as reliable scientific methods. Yet, Plaintiffs pick apart

details of Dr. Gwin’s report that go to the weight and credibility of the opinion, not

admissibility. From an engineering perspective, Plaintiffs and their untimely identified expert

witness, John Smith, who likewise does not have an Oklahoma engineering license or a

biomechanical engineering degree, criticize Dr. Gwin for not going to the scene of the

accident, taking any measurements, examining the vehicles, measuring the seat back position

or incline, measuring the position of the headrest or the occupant spaces or inspecting the

interior for anything indicating places where Plaintiffs’ bodies may have impacted parts of

the interior. Plaintiffs also criticize Dr. Gwin for not taking into account the surrogate

occupants’ resilience, constitution or predisposition to injury.

       Although Dr. Gwin did not inspect the actual vehicle or go to the scene of the

accident, she certainly reviewed sufficient information to employ the injury causation analysis

and formulate an opinion. Dr. Gwin explains in her Affidavit that the injury causation

analysis allows her to determine whether the claimed acute injuries were consistent with the

forces experienced by Plaintiffs. [Ex. 1]. The forces were determined through standard

accident construction methodologies and do not require hands-on inspection of the site or

vehicles, where other sufficient evidence exists, as it does here. [Ex. 1]. Dr. Gwin’s injury

causation analysis considered the damage photographs, repair estimates and medical records

of Plaintiffs and related them to the analysis. [Ex. 1]. Aside from Smith’s Affidavit, Plaintiffs

fail to provide any independent evidence that the reviewed information was not sufficient or




                                               20
         Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 25 of 29



that going to the scene of the accident and inspecting the subject vehicle are required to

perform injury causation analysis.

       Ultimately, Smith’s complaints about the sufficiency of the factual basis to support

Dr. Gwin’s opinion go to the weight of the opinion, not admissibility. Werth v. Makita Elec.

Works, Ltd., 950 F.2d 643, 654 (10th Cir. 1991). Just because Plaintiffs and Smith do not

agree with Dr. Gwin’s opinions, or even with her method of arriving at those opinions, does

not mean that Dr. Gwin’s opinions are inadmissible. See, e.g., McCoy v. Whirlpool Corp.

(unpub.), 2003 WIL 1923016 at *6 (D. Kan. Apr. 21, 2003) (citing Kannakeril v. Terminix

Int'l Inc., 128 F.3d 802 (3d Cir. 1997) for the proposition that "the fact that others may

disagree with his conclusions is not sufficient to sustain a challenge under Daubert[, as]

Daubert does not set up a test of which opinion has the best foundation, but rather whether

any particular opinion is based on valid reasoning and reliable methodology"). Smith’s

affidavit, and the conclusory statements contained within it, are merely Plaintiffs asking the

Court to believe their expert over Dr. Gwin, which is clearly not within the Court’s legal

gatekeeping function.

       Plaintiffs further argue that Dr. Gwin's medical opinion that Plaintiffs’ injuries are a

result of degenerative changes over time, rather than one traumatic accident, is not based

upon sufficient facts or data. Specifically, Plaintiffs state that Dr. Gwin did not examine

Plaintiffs, did not review their complete medical histories nor did she consider occupant

resilience, constitution or predisposition to injury. The fact that Dr. Gwin did not examine

Plaintiffs or review their complete medical history does not render her opinion unreliable.

She relied upon her review of Plaintiffs’ medical records relevant to this accident, as well as

reviewing the independent medical examination reports of Dr. Stephen Conner, who did

physically examine both Plaintiffs. Defendants are unaware of, and Plaintiffs do not cite, any


                                              21
            Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 26 of 29



legal authority requiring a medical expert to physically examine a plaintiff in order to make

a written report and render an opinion. On the contrary, medical causation experts routinely

rely upon medical records to formulate their opinions.

       Plaintiffs also argue that Dr. Gwin’s opinion is not reliable because she is not a

radiologist and she does not specialize in spinal injuries. However, Dr. Gwin clearly states

that she relied upon the expert impressions of Board Certified Radiologist, Dr. Day.

[Doc. 392; Ex. 1]. Medical doctors frequently consult with and rely upon the impressions of

radiologists in forming their opinions and such does not render Dr. Gwin’s opinion

cumulative or unreliable. [Ex. 1].

       B.      Dr. Cynthia Day

       In her report, Dr. Day explains in detail the facts, data, principles and methods used

to form the basis of her opinions. Specifically, Dr. Day reviewed Mr. Stiebens’ imaging

reports and studies from Toy Chiropractic, Comanche County Memorial Hospital, Oklahoma

Diagnostic Imaging and Mercy Hospital Oklahoma City. [Doc. 39-7]. Plaintiffs argue that

Dr. Day’s opinions based upon these imaging reports are unreliable because (1) the imaging

she reviewed were not the best quality of films, (2) she did not examine Mr. Stiebens and was

not provided copies of his medical records, and (3) she did not discuss the MRI report from

Mr. Stiebens’ neurosurgeon in her report.

       Dr. Day cannot control what is contained in Plaintiffs’ imaging studies. And the fact

that she did not examine Plaintiffs is entirely appropriate for a radiologist in interpreting

imaging studies. [Ex. 2]. A radiologist giving an interpretive impression is supposed to read

imaging studies in a “vacuum” without other medical records and without examining the

patient. Id. Indeed, Dr. Day was not tasked with diagnosing Plaintiffs’ condition; rather, she

was to interpret the imaging studies provided to look for evidence of acute injury. A


                                             22
           Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 27 of 29



differential diagnosis and physical examination would only be appropriate for a radiologist

attempting to diagnose a patient’s condition, which is not Dr. Day's purpose in this case.

[Ex. 2]. The cases Plaintiffs cite relating to differential diagnosis all contain facts wherein

a doctor gave an opinion as to a person’s diagnosis. Such is not the case here, as Dr. Day was

merely interpreting the existing imaging studies for evidence of an acute injury, which she

was unable to find.

       C.     Enrique Bonugli

       Bonugli also explains in detail the methodology, facts and data underlying his

opinions in his report. Bonugli reviewed the following documents: (1) the Oklahoma Traffic

Collision Report; (2) Repair Estimate for 1997 Saturn SL1; (3) Repair estimate for 2011

Honda CRV; (4) Pleadings and Discovery Responses; (5) Depositions of Chad Johnson,

Mary Stiebens and Christopher Stiebens; (6) Color photographs of the 2011 Honda CRV, the

Accident Scene, Facebook and Instagram photos posted by Mr. Stiebens and the 1997 Saturn

SL1; (7) Medical Records for Mr. Stiebens relating to the accident from approximately 15

different providers; and, Medical Records for Mrs. Stiebens relating to the accident from

approximately eight different providers. [Doc. 39-9]. Bonugli also performed an impact

assessment and analysis based upon these materials, as well as scientific methodology

explained in detail, including a damaged-based energy method and damaged-based crash

simulation method. [Doc. 39-9; Ex. 3]. Bonugli cites published authority for each of these

methods.

       Plaintiffs argue that Bonugli’s opinions are speculative, based upon facts not in

evidence and on data summarily provided by Defendants and accepted without question by

Bonugli. As with Dr. Gwin, Plaintiffs criticize Bonugli for not going to the site of the

accident and not taking any photographs or measurements there. Plaintiffs also criticize

Bonugli for not speaking with the investigating officer, shooting coordinates, determining

                                              23
           Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 28 of 29



the line of site or the coefficient of friction. Yet, the information and methods that Bonugli

relied upon are sufficient for an accident reconstruction under standard methodologies and

there is no requirement for additional evidence. [Ex. 3].

         Plaintiffs further state that Bonugli "back-tracked" his calculations to achieve a

closing velocity to match his intended delta-v calculations, which is a misrepresentation of

Bonugli's methodology, which includes an iterative process. Id. Bonugli explains in his

Affidavit that, in an iterative process, simulation software allows the input of known data

points to allow a recreation of the subject event to run through multiple simulations of the

calculable physics of an event until the positions of the vehicles and their resulting damage

matches the physical evidence from the event. [Ex. 3]. Bonugli's delta-v calculation is the

product of this exact analysis. [Ex. 3].

         Finally, as with Dr. Gwin, Plaintiffs cite the Affidavit of their expert John Smith,

which merely disagrees with Bonugli and his methods. As explained previously, Smith's

disagreement with Bonugli's opinions and methods is for the jury to weigh and consider at

trial.

                                      CONCLUSION

         For the reasons set forth in detail above, Defendants respectfully request that this

Court deny Plaintiffs' Daubert Motion, as they fail to establish that Defendants' experts are

unqualified or that their opinions are unreliable.

                                                     s/Lane R. Neal
                                                     Lane R. Neal, OBA #22246
                                                     Gerald E. Durbin, II, OBA #2553
                                                     David B. Donchin, OBA #10783
                                                     Durbin, Larimore & Bialick
                                                     920 North Harvey
                                                     Oklahoma City, OK 73102-2610
                                                     Telephone: (405) 235-9584
                                                     Facsimile: (405) 235-0551
                                                     dlb@dlb.net
                                                     Attorneys for Defendants

                                              24
            Case 5:16-cv-00629-F Document 46 Filed 08/22/18 Page 29 of 29




                                         CERTIFICATE OF SERVICE

        :I hereby certify that on August 22, 2018, I electronically transmitted the attached document
to the Clerk of Court using the ECF System for filing. Based on the records currently on file, the
Clerk of Court will transmit a Notice of Electronic Filing to the following ECF registrants:

         David M. Nix, OBA #14894
         The Nix Law Firm
         1401 Holliday, Suite 400
         Wichita Falls, TX 76301
         Telephone: (940) 322-8200
         Facsimile: (940) 228-3233
         dnix@thenixlawfirm.com
         Attorney for Plaintiffs

                                                                   s/Lane R. Neal
                                                                   Lane R. Neal
2315.0011\#17735008v1<OKC> -Response to Daubert Motion ABU FINAL




                                                            25
